Case 1:20-mj-00589-DML *SEALED*
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA,                     )
                                                 )
           Plaintiff,                            )
                                                 )
                   v.                            )       CAUSE NO. 1:20-mj-0589-DML
                                                 )
   ZHAO, KAIKAI                                  )       (-01)
                                                 )
           Defendant.                            )




                                                 ORDER

           The United States of America has moved the Court to unseal the above-entitled action.

           In support of its motion, the United States informed the Court that the arrest warrant has

   been served and therefore the interests of justice and the needs of the investigation no longer

   require this cause to remain under seal.

           WHEREFORE, the Court being sufficiently advised, now GRANTS the Motion to Unseal

   Case at Docket 8 and the Clerk of the Court is ORDERED to unseal the above-entitled action.

           IT IS FURTHER ORDERED that the Motion to Unseal Document at Docket 7 is denied as

   moot.

           SO ORDERED.
                                              ____________________________________
               Date: 7/23/2020                   Debra McVicker Lynch
                                                 United States Magistrate Judge
                                                 Southern District of Indiana



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